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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GEORGIA COALITION FOR THE
PEOPLES’ AGENDA, INC., as an
organization; ASIAN AMERICANS
ADVANCING JUSTICE-ATLANTA,                    Civil Action
INC., as an organization; GEORGIA             Case No. 1:18-cv-04727-ELR
STATE CONFERENCE OF THE
NAACP, as an organization; NEW                 THIRD AMENDED
GEORGIA PROJECT, INC., as an                   COMPLAINT FOR
organization; GEORGIA                          INJUNCTIVE AND
ASSOCIATION OF LATINO                          DECLARATORY RELIEF
ELECTED OFFICIALS, INC., as an
organization; PROGEORGIA STATE                 Section 2 of the Voting Rights Act
TABLE, INC., as an organization; THE           of 1965 (52 U.S.C. § 10301);
JOSEPH AND EVELYN LOWERY                       Section 8 of the National Voter
INSTITUTE FOR JUSTICE AND                      Registration Act of 1993 (52
HUMAN RIGHTS, INC, as an                       U.S.C. § 20507); First and
organization; COMMON CAUSE, as an              Fourteenth Amendments to the
organization; and JUDITH MARTINEZ              United States Constitution
CRUZ,

             Plaintiffs,

v.

BRAD RAFFENSPERGER, in his
official capacity as Secretary of State for
the State of Georgia,

             Defendant.
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                                 INTRODUCTION

      1.     Plaintiffs bring this action to vindicate the right of Georgia voters—

primarily naturalized citizens and disproportionately citizens of color—to register

and vote under the First and Fourteenth Amendments to the Constitution, the Voting

Rights Act, and the National Voter Registration Act.

      2.     Plaintiffs challenge the Georgia Secretary of State’s unlawful

citizenship matching protocol that delays and denies active voter registration status

to qualified Georgians who submit facially complete and accurate voter registration

forms, including an attestation under penalty of perjury of U.S. citizenship.

Defendant does so on the basis of stale Georgia Department of Driver Services

(DDS) data that does not reflect the current citizenship status of the applicant.1 This

protocol targets predominantly naturalized citizens for an additional documentary

proof of citizenship requirement for voter registration not imposed on other qualified



1
   In April 2019—after Plaintiffs filed this lawsuit challenging the entirety of
Georgia’s “exact match” voter registration process—Georgia enacted Section 6 of
HB 316, largely abandoning Georgia’s longstanding practice of delaying and
denying active voter registration status to tens of thousands of applicants if their
name, date of birth, driver’s license or Social Security numbers did not “exactly
match” data on file with DDS or the Social Security Administration (SSA). In light
of the amendments to O.C.G.A. § 21-2-220, Plaintiffs now focus their claims in this
litigation on the “citizenship match” aspect of the process which continues to
inaccurately flag qualified Georgians who are United States citizens as potential
non-citizens, delaying or denying them active voter registration status.
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voters, disparately and unduly burdens the right to vote of minority citizens, and

relies on data that the Secretary of State knows is unreliable.

      3.       Since a driver’s license for a lawful permanent resident or other

noncitizen can be valid for up to five years in Georgia, tens of thousands of

individuals become naturalized in Georgia each year, and the DDS records are not

automatically updated to reflect current citizenship status, the protocol’s design is

fatally flawed.

      4.       Registrants flagged by the flawed citizenship matching protocol must

provide documentary proof of citizenship to a county registrar, deputy registrar or

poll manager in order to gain active voter registration status and be permitted to vote.

A documentary proof of citizenship requirement is not imposed on other eligible

registrants.

      5.       In addition to imposing a documentary proof of citizenship (“DPOC”)

requirement on an arbitrary subsection of Georgia’s voter registration applicants, the

citizenship matching protocol imposes a 26-month cancellation deadline on flagged

applicants to prove their citizenship status. Once the application is cancelled, the

applicant must start the process again and is likely to face the same outcome since

DDS citizenship data are not routinely updated to reflect the current citizenship

status of the applicant.

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      6.     Since at least 2008, the Georgia Secretary of State’s Office has been on

notice that its citizenship matching protocol inaccurately flags qualified United

States citizens as potential non-citizens when their voter registration form data is

compared against DDS records.2

      7.     Likewise, the Secretary of State’s Office has been repeatedly warned

of the disproportionate impact this protocol has based on applicants’ national origin

and race. In 2009, the United States Department of Justice interposed an objection

under Section 5 of the Voting Rights Act to Georgia’s citizenship matching protocol

because of its discriminatory impact on African American, Latino and Asian

American applicants who were flagged as potential non-citizens. The letter noted

that the protocol’s high error rate fell disproportionately on naturalized citizens and

minority voters and imposed “real” and “substantial” burdens on those voters.

      8.     Despite the fact the Georgia Secretary of State’s office has been on

actual notice for more than a decade that this flawed process repeatedly and

inaccurately flags qualified Georgians—predominantly naturalized citizens and

minority applicants—as potential non-citizens, the Defendant continues to use this




2
 See Morales v. Handel, No. 1:08-CV-3172, 2008 WL 9401054 (N.D. Ga. Oct. 27,
2008).
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protocol to deny and delay active voter registration to qualified Georgia citizens who

submit facially complete and accurate voter registration forms.

      9.     The discriminatory impact of this process on naturalized citizens not

born in the United States is a natural outcome of this flawed protocol. The matching

protocol is designed to impose a documentary proof of citizenship requirement on

those registrants who, at some prior point in time, had a non-citizen status they

reported to DDS. The protocol necessarily relies on stale and often outdated DDS

data. The protocol does not rely on a meaningful indicator of citizenship status but

does predictably target those with a national origin outside of the United States.

      10.    Georgia’s defective process also inaccurately flags some U.S. born

citizens as potential non-citizens for other reasons, such as using an out of state

driver’s license on their registration form that does not match citizenship data on file

with DDS.

      11.    The continuing discriminatory impact of Georgia’s citizenship

matching protocol on applicants of color is reflected in a November 14, 2019 voter

file containing voters in “pending” status produced by Defendant in discovery.

      12.    This report indicates that 2,996 applicants were in “pending” status

because they had been flagged by the citizenship matching protocol. Of these 2,996

applicants, 950 or 31.7% identify as Black; 703 or 23.5% identify as Asian American

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or Pacific Islander; 632 or 21.1% identify as Hispanic; and 376 or 12.6% identify as

White, not of Hispanic (hereinafter, “White”) origin. Thus, approximately 76% of

pending for citizenship applicants in the November 2019 report identified as Black,

Asian, or Hispanic compared to only 12.6% of White applicants. By contrast, of

Georgia’s 7,057,248 registered voters as of February 2, 2019, approximately 53.7

percent are White, 29.8 percent are Black, 3.0 percent are Hispanic, and 2.2 percent

are Asian-American.

      13.    Georgia’s onerous policy is not justified by any legitimate state concern

about non-citizens registering to vote in Georgia. Alleged voting by non-citizens

nationally is exceedingly rare. To date, Defendant Raffensperger has not produced

a single iota of evidence showing that non-citizen voting occurs or is a meaningful

problem in Georgia.

      14.    The citizenship match process maintained by Defendant Raffensperger

is also arbitrary and irrational. Since the matching protocol is applied at the time of

voter registration, it relies solely on DDS data that pre-dates the time of registration.

As noted above, that data is probative of national origin outside the United States

but not of current citizenship status.

      15.    Moreover, the arbitrary nature of the protocol is reflected by the fact

that it only applies to applicants who use a driver’s license number on their voter

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registration form. Applicants avoid the citizenship match process altogether if they

do not have a Georgia driver’s license, and thus use their social security number to

register to vote, or if they have neither a driver’s license nor social security number.

       16.    This process has disenfranchised, and delayed voter registration to,

qualified Georgians who are United States citizens for more than a decade. It is

finally time to bring an end to this discriminatory practice. It serves no legitimate or

compelling state purpose yet continues to disproportionately deny or delay access to

the ballot for qualified African American, Latino, and Asian American Georgians.

                             JURISDICTION AND VENUE

       17.    This Court has jurisdiction of this action pursuant to 28 U.S.C. §

1343(a) because it seeks to redress the deprivation, under color of state law, of rights,

privileges and immunities secured by the Voting Rights Act, and 28 U.S.C. § 1331

because it arises under the laws of the United States.

       18.    This Court has jurisdiction to grant both declaratory and injunctive

relief pursuant to 28 U.S.C. §§ 2201 and 2202.

       19.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims

occurred in this district.

                                      PARTIES

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      20.    Plaintiff THE GEORGIA COALITION FOR THE PEOPLE’S

AGENDA, INC. (“GCPA”) is a Georgia nonprofit corporation with its principal

place of business located in Atlanta, Georgia. The GCPA is a coalition of more than

30 organizations, which collectively have more than 5,000 individual members. The

GCPA encourages voter registration and participation, particularly among Black and

other underrepresented communities including Georgians who are naturalized

citizens. The GCPA’s support of voting rights is central to its mission. The

organization has committed, and continues to commit, time and resources to

conducting voter registration drives, voter education, voter ID assistance, Souls to

the Polls, and other get out the vote (“GOTV”) efforts in Georgia that seek to

encourage voter participation. The GCPA in coalition with other civic engagement

organizations in Georgia also participates in voter registration drives following

naturalization ceremonies, which seek to encourage eligible naturalized citizens and

their qualified family and friends to register to vote. Applicants who have submitted

voter registration forms through voter registration drives conducted by the GCPA

have had their applications put into “pending” status due to Georgia’s citizenship

matching protocol, which is causing harm, and will continue to cause harm, to the

GCPA’s mission of encouraging minority voter registration and participation. The

protocol has caused, and will continue to cause, GCPA to divert a portion of its

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financial and other organizational resources to educating voters about the protocol

and assisting potential voters whose applications have been put into “pending” status

or cancelled as a result of the state’s defective citizenship matching process which

relies upon outdated DDS data that is not updated to reflect current citizenship status.

As a result, the GCPA has, and will continue to have, fewer resources to dedicate to

its other organizational activities, including voter registration drives and GOTV

efforts, unless the Court enjoins Defendant Raffensperger from continuing to delay

or deny voter registration status to qualified Georgia citizens based upon the

defective citizenship match with outdated DDS citizenship data.

      21.    Plaintiff   ASIAN      AMERICANS         ADVANCING          JUSTICE      –

ATLANTA, INC. (“Advancing Justice – Atlanta”) is a non-partisan, nonprofit

organization that was founded in 2010 and is located in Norcross, Georgia.

Advancing Justice – Atlanta protects and promotes the civil rights of Asian

Americans and Pacific Islanders (“AAPIs”) and other immigrant and refugee

communities in Georgia through policy advocacy, legal services, impact litigation,

and civic engagement. As part of its civic engagement efforts, Advancing Justice –

Atlanta engages in voter registration, voter education, and GOTV efforts in Georgia,

with a particular focus on AAPI voters, including naturalized citizens. Advancing

Justice – Atlanta also participates in coalition with other civic engagement

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organizations in Georgia in voter registration drives following naturalization

ceremonies, which seek to encourage eligible naturalized citizens and their qualified

family and friends to register to vote. Upon information and belief, Georgia citizens

who have attempted to register to vote through Advancing Justice – Atlanta’s voter

registration drives have had their applications put into “pending” status due to the

citizenship matching protocol. The citizenship matching protocol has caused, and

will continue to cause, harm to Advancing Justice – Atlanta’s mission to promote

the rights of the AAPI community. The protocol will cause Advancing Justice –

Atlanta to divert a portion of its financial and other organizational resources to

educating voters about the protocol and its impact on the registration process. As a

result, Advancing Justice – Atlanta has, and will continue to have, fewer resources

to devote to its other organizational activities, including voter registration drives and

GOTV efforts, unless the citizenship matching protocol is enjoined.

      22.    PROGEORGIA STATE TABLE, INC. (“PROGEORGIA”) is a

501(c)(3) nonprofit organization founded in 2012. Its mission is to coordinate the

civic engagement efforts of its nonprofit member groups. PROGEORGIA aims to

increase voter engagement among historically underrepresented voters by supplying

field coordination for voter education and voter mobilization efforts. Among other

activities, PROGEORGIA offers voter registration opportunities at naturalization

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ceremonies and facilitates voter registration drives by its member organizations.

Upon information and belief, qualified minority and naturalized citizen applicants

who attempted to register to vote through registration drives organized by

PROGEORGIA have had their applications put into “pending” status due to the

citizenship matching protocol. Georgia’s citizenship matching protocol is causing,

and will continue to cause, harm to PROGEORGIA’s mission of encouraging

minority    voter   registration   and   participation.   The   protocol   will   cause

PROGEORGIA to divert a portion of its financial and other organizational resources

to educating voters about the protocol and assisting potential voters whose

applications have been cancelled or put into pending status. As a result,

PROGEORGIA is limited, and will continue to be limited, to devoting fewer

resources to its other organizational activities, including voter registration efforts.

Unless the enforcement of the citizenship matching protocol is enjoined, it will

impair PROGEORGIA's voter registration projects by causing the organization to

divert personnel and time to assisting its member organizations whose efforts to

register voters and civic engagement programs are hindered and made more difficult

because of the citizenship matching protocol.

      23.    Plaintiff GEORGIA STATE CONFERENCE OF THE NAACP

(“Georgia NAACP”) is a non-partisan, interracial, nonprofit membership

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organization that was founded in 1941. Its mission is to eliminate racial

discrimination through democratic processes and ensure the equal political,

educational, social, and economic rights of all persons, in particular African

Americans. It is headquartered in Atlanta and currently has approximately 10,000

members. The Georgia NAACP works to protect voting rights through litigation,

advocacy, legislation, communication, and outreach, including work to promote

voter registration, voter education, GOTV efforts, election protection, and census

participation. The Georgia NAACP regularly conducts voter registration drives and

has submitted many voter registration applications to elections officials throughout

Georgia. Upon information and belief, voter registration applications filled out by

voting-eligible Georgia NAACP members and other voting-eligible Georgians who

submit registration forms through the Georgia NAACP’s voter registration drives

have been, and will be, put into pending status and risk having their applications

cancelled as a result of the citizenship matching protocol. The citizenship matching

protocol has caused, and will cause, the Georgia NAACP to divert a portion of its

financial and other organizational resources to educating voters about the protocol

and assisting applicants whose applications have been cancelled or put into pending

status as a result of the citizenship match protocol. As a result, the Georgia NAACP

has, and will continue to have, fewer resources to devote to its civic engagement and

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other programs, including voter registration drives and GOTV efforts, unless the

citizenship matching protocol is enjoined.

      24.    Plaintiff, the NEW GEORGIA PROJECT, INC. (“NGP”), is a Georgia

501(c)(3) not-for-profit corporation. NGP’s mission is to civically engage Georgians

in underrepresented communities. NGP regularly conducts voter registration drives

throughout Georgia. Voter registration drives are a substantial component of its civic

engagement mission. On information and belief, eligible minority applicants who

attempted to register to vote through registration drives conducted by NGP have had

their applications placed into pending status due to the citizenship matching

protocol. Georgia’s citizenship matching protocol is causing and will continue to

cause harm to NGP’s mission of encouraging voter registration and participation

among minority applicants and underserved communities. The protocol will cause

NGP to divert a portion of its financial and other organizational resources to

educating voters about the protocol and assisting potential voters whose applications

have been cancelled or put into pending status. As a result, NGP is limited, and will

continue to be limited, to devoting fewer resources to its other organizational

activities, including voter registration drives, unless the citizenship matching

protocol is enjoined.




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      25.    Plaintiff GEORGIA ASSOCIATION OF LATINO ELECTED

OFFICIALS, INC. (“GALEO”) is a non-partisan and nonprofit organization

founded in Georgia under § 501(c)(6) of the Internal Revenue Code. It was

established to increase representation of Latino elected and appointed officials, to

proactively address issues and needs facing the Latino community, and to engage

Georgia’s Latino community in the democratic and political process. It does so

through (1) television, radio and print media Spanish public service announcements;

(2) widespread distribution of literature regarding voter registration and other

voting-related issues (in both English and Spanish); (3) administration of a voter

information hotline and website (in both English and Spanish); (4) provision of

electronic access to legislative voting records; and (5) voter mobilization efforts that

include voter registration drives, “get out to vote” phone calls and transporting voters

to the polls. Upon information and belief, voter registration applications filled out

by eligible GALEO members and persons whom GALEO assists in registering to

vote have been and will be placed into pending status and risk being cancelled as a

result of the citizenship matching protocol. Georgia’s citizenship matching protocol

is causing and will continue to cause GALEO to divert a portion of its financial and

other organizational resources to educating voters about the protocol and assisting

potential voters whose applications have been cancelled or put into pending status.

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As a result, GALEO has, and will be, forced to divert resources away from other

organizational activities, including voter registration drives and GOTV efforts

because of the citizenship match protocol unless the Court grants the remedial relief

herein requested.

      26.    Plaintiff THE JOSEPH AND EVELYN LOWERY INSTITUTE FOR

JUSTICE AND HUMAN RIGHTS (“Lowery Institute”) is a non-partisan, nonprofit

organization that was founded in 2001 and is located in Atlanta, Georgia. The vision

of the Lowery Institute is to ensure that everyone has a political voice and has the

tools to be change agents in their community. The Institute serves its mission by

focusing on civil and human rights, social justice, education, and community health.

As part of its civic engagement efforts, the Lowery Institute conducts voter

registration efforts in Georgia focused on college students and younger voters of

color. Upon information and belief, persons of color who attempt to register through

the Lowery Institute’s voter registration drives have had their applications put into

“pending” status due to the citizenship matching protocol. Georgia’s citizenship

matching protocol is causing and will cause harm to the Lowery Institute’s mission

to promote the rights of college students and younger voters of color. The protocol

will cause the Lowery Institute to divert a portion of its financial and other

organizational resources to educating voters about the protocol and its impact on the

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registration process. As a result, the Lowery Institute has, and will continue to have,

fewer resources to devote to its other organizational activities, including its civic

engagements efforts, unless the citizenship matching protocol is enjoined.

      27.    Plaintiff COMMON CAUSE is a nonprofit corporation organized and

existing under the laws of the District of Columbia. It is one of the nation’s leading

grassroots democracy-focused organizations and has over 1.2 million members

nationwide and chapters in 35 states, including 18,785 members and supporters in

Georgia. Since its founding in 1970, Common Cause has been dedicated to the

promotion and protection of the democratic process, including the right of all

citizens to vote in fair, open, and honest elections. Common Cause, at the national

level and in Georgia, conducts significant nonpartisan voter-protection, advocacy,

education, and outreach activities to ensure that voters are registered and have their

ballots counted as cast. Over the last five years, its efforts in Georgia have increased

in the areas of election protection, voter education, and grassroots mobilization

around voting rights. Common Cause works on election administration issues with

its coalition, much of which is represented by the other plaintiffs in the instant

lawsuit. Common Cause works with these partners in election protection efforts

during both midterm and presidential elections. The citizenship matching protocol

directly impacts Common Cause’s election protection program, which provides

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voters with necessary resources for Election Day including information about

pending status due to the citizenship matching protocol. Common Cause now must

continue its efforts to counter the citizenship matching protocol through its

educational efforts. As a result, Common Cause has, and will continue to have, fewer

resources to devote to its other organizational activities unless the citizenship

matching protocol is enjoined.

      28.    Plaintiff JUDITH MARTINEZ CRUZ is a U.S. citizen who is

registered to vote in Gwinnett County. Plaintiff Martinez Cruz was born and raised

in Mexico and became a naturalized U.S. citizen in 2016. She has voted successfully

in Gwinnett County elections prior to 2020. When Plaintiff Martinez Cruz attempted

to vote in Georgia’s primary election on June 9, 2020, she was told by poll workers

that there was a problem with her registration status and that she had been identified

as a potential non-citizen. The poll workers said that if she wanted to vote, she would

have to show them a passport or another document that proved she was a U.S.

citizen. The poll worker did not offer her the opportunity to vote a provisional ballot.

Because her passport was at home, she had to leave the polling place, retrieve her

passport, and return to the polling place. Because it was late in the day, by the time

Plaintiff Martinez Cruz went home and returned to her polling place it was almost 7

pm and the polling place was about to close. After the poll worker filled out a form,

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she was able to cast her ballot. She does not know what she did to be flagged as a

possible non-citizen given that she has been a citizen and voted in Gwinnett County

for years. She is worried that she will be flagged as a possible non-citizen if she tries

to vote again in the future.

        29.   Defendant BRAD RAFFENSPERGER is sued in his official capacity

as Georgia’s Secretary of State. Secretary Raffensperger’s responsibilities include

maintaining the state’s official list of registered voters and preparing and furnishing

information for citizens pertaining to voter registration and voting. Ga. Code Ann.

§§ 21-2- 50(a), 21-2-211. Defendant Raffensperger also serves as the Chairperson

of Georgia’s State Election Board, which promulgates and enforces rules and

regulations to obtain uniformity in the practices and proceedings of election officials

and is responsible for promoting the fair, legal, and orderly conduct of all primaries

and elections in the state. Id. §§ 21-2-30(d), 21-2-31, 21-2-33.1. Finally, Defendant

Raffensperger is the chief election official responsible for the coordination of

Georgia’s responsibilities under the National Voter Registration Act of 1993

(NVRA) and the Help America Vote Act of 2002 (HAVA). Id. §§ 21-2-210, 21-2-

50.2.

                          FACTS AND BACKGROUND

                                 Legal Background

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       30.   A voter must be registered as an elector in Georgia to cast a ballot that

counts in any election held in the state. Ga. Code Ann. § 21-2-216(a)(1).

       31.   In order to register to vote in Georgia, an applicant must be (1) a citizen

of Georgia and of the United States; (2) at least 18 years of age on or before the date

of the primary or election in which such person seeks to vote; (3) a resident of

Georgia and of the county or municipality in which he or she seeks to vote; and (5)

possessed of all other qualifications prescribed by law. Ga. Code Ann. § 21-2-216

(a).

       32.   Both the Georgia and federal voter registration forms require the

applicant to swear or affirm to their U.S. citizenship in order to register to vote.3

       33.   Although Georgia amended Section 21-2-216 to include a documentary

proof of citizenship requirement for all persons registering to vote in Georgia on or

after January 1, 2010 in subsection (g), it is undisputed that this requirement is not

in force.4 Thus, the only documentary proof of citizenship requirement in place is




3
  See box number 6 on the Georgia voter registration form, available at
https://sos.ga.gov/admin/files/GA_VR_APP_2019.pdf; see also box number 9 on
the National Voter Registration Form for United States Citizens, available at
https://www.eac.gov/assets/1/6/Federal_Voter_Registration_ENG.pdf.
4
  See, e.g., League of Women Voters v. Newby, 838 F.3d 1, 6 (D.C. Cir. 2016)
(observing that Georgia was not enforcing its proof of citizenship law).
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the one that arises from the citizenship matching protocol and targets naturalized

U.S. citizens.

      34.    Pursuant to Georgia Code Section 21-2-220(b), the person authorized

to offer registration (i.e., county registrars) “shall inquire as to whether the individual

seeking registration is a citizen of the United States, and the person offering

registration shall not be required to offer registration to an individual who answers

such inquiry with a negative response.”

      35.    Section 21-2-220(b) only authorizes rejecting a voter registration

application when applicants state that they are not a United States citizen. It does not

authorize county registrars (or the Secretary of State) to deny voter registration to

applicants who swear and affirm under penalty of perjury that they are United States

citizens at the time they apply to vote simply because of data purporting to indicate

that the applicant was not a U.S. citizen at some time in the past. Citizenship status

is not immutable. In a country of immigrants, new citizens join the U.S. political

community every day.

      36.    Pursuant to HAVA, the State of Georgia must maintain a centralized,

computerized, statewide voter registration database as the single system for storing

and managing Georgia’s official list of registered voters. 52 U.S.C. §

21083(a)(1)(A).

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      37.    HAVA imposes certain identification requirements for first-time

voters. 52 U.S.C. § 21083(a)(5). Voter registration applicants who have been issued

a current and valid driver’s license must provide their driver’s license number on the

application. 52 U.S.C. § 21083(a)(5)(A). Applicants who lack a current driver’s

license must provide the last four digits of their social security number. Id. If an

applicant does not have either, the state must assign the applicant a unique identifier

for voter registration purposes. Id.

      38.    HAVA requires that Georgia’s chief election official enter into an

agreement with DDS “to match information in the database of the statewide voter

registration system with information in the database of the motor vehicle authority

to the extent required to enable each such official to verify the accuracy of the

information provided on applications for voter registration.” 52 U.S.C. §

21083(a)(5)(B). Further, DDS must enter into an agreement with the Commissioner

of Social Security for the same purpose. Id. However, HAVA does not require that

this matching process be used in any way for establishing voters’ qualifications to

vote, including citizenship.

      39.    To the contrary, under the NVRA and HAVA, all eligible applicants

who submit complete, accurate registration forms must be registered to vote in

federal elections and there is nothing in HAVA or Georgia law that requires

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Defendant Raffensperger or county registrars to deny active voter registration to

qualified U.S. citizens who accurately swear and affirm they are U.S. citizens based

upon outdated DDS citizenship data that is not updated to reflect the current

citizenship status of the applicant.

     The Citizenship Matching Protocol Is Inaccurate and Discriminatory

      40.    In April 2019, Georgia enacted Section 6 of HB 316, which amended

Georgia’s “exact match” registration process. Georgia had previously denied active

voter registration status to tens of thousands of applicants when the spelling of their

name, date of birth, social security or Georgia driver’s license number on their

registration record did not “exactly match” the same information recorded on SSA

or DDS databases. However, Georgia and Defendant Raffensperger have done

nothing to reform the defective citizenship matching protocol that continues to deny

active voter registration status – and the ability to vote a ballot that counts – to

qualified Georgians who are United States citizens.

      41.    The protocol places significant burdens on voting on the subset of U.S.

citizens flagged by its flawed methodology. Citizens who are incorrectly flagged as

potential noncitizens by the matching protocol are required to provide documentary

proof of their citizenship in order to obtain active voter registration status and vote.

No other voters are required to submit documentary proof of citizenship to vote.

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      42.    The protocol’s underlying methodology for flagging potential non-

citizens is designed to be both inaccurate and discriminatory.

      43.    It is inaccurate because it relies on outdated driver’s license records.

DDS records are not routinely updated to reflect the current citizenship status of the

license holder. Non-citizens can obtain driver’s license that are valid for up to five

years. According to a 2015 Department of Homeland Security estimate, there were

approximately 260,000 legal permanent residents residing in Georgia, of which

160,000 were eligible to naturalize. The Department of Homeland Security reports

the following number of persons who naturalized in Georgia in recent years: 20,794

in fiscal year 2015; 18,866 in fiscal year 2016; and 16,461 in fiscal year 2017. These

figures indicate that the vast majority—if not virtually all—of the 2,996 Georgians

on the current pending list based on the citizenship matching protocol are likely

naturalized citizens. Yet, these outdated records are used to repeatedly deny or delay

active voter status, imposing a unique documentary proof of citizenship on the subset

of voters flagged by the protocol.

      44.    The protocol’s methodology is also necessarily discriminatory. While

the protocol is not reasonably designed to identify noncitizen voters, it is remarkably

well crafted to identify and burden naturalized citizens—born outside of the United

States—who seek to exercise their right to vote. Its methodology is targeted to sweep

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in applicants who were not citizens at some previous point in time—i.e. immigrants

who were not born in the United States. Thus, the methodology successfully targets

new Americans but fails to consider their current citizenship status. Moreover, since

the vast majority of naturalized citizens in Georgia are non-White, the protocol

discriminates on both the basis of national origin and race.

      45.    Indeed, the November 14, 2019 file of voters in “pending” status

produced by Defendant indicates that approximately 76 percent of pending

applicants identified as Black, non-Hispanic, Asian or Pacific Islanders, or Hispanic.

Only 12.6 percent of the voters in “pending” status are White, even though

approximately 53.7 percent of Georgia’s registered voter population is White. This

disparity demonstrates the racially discriminatory impact of the defective citizenship

matching protocol.

      46.    The protocol is also arbitrary in its application. It does not apply to

voters who use their social security number rather than their driver license on their

voter registration or do not use either a driver’s license or social security number on

the form.

      47.    Meanwhile, there is no evidence that the voter registration requirement

that each applicant affirm citizenship under penalty of perjury and criminal statutes




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preventing voting by non-citizens are sufficient barriers to prevent non-citizens from

voting or that non-citizen voter registration is a significant problem in Georgia.

        48.     Other states’ failed past attempts to implement programs similar to

Georgia’s only further confirm the discriminatory and untailored nature of the

citizenship matching protocol.

        49.     In 2012, Florida’s Secretary of State launched a voter purge program

on the basis of stale driver license citizenship data. Out of 185,000 registrants

identified as purported “non-citizens” by Florida’s program (relying on the same

type of data as Georgia’s protocol), less than 0.05 percent could be lawfully removed

from the rolls. See Steve Bouquet & Amy Sherman, Florida suspends non-citizen

voter         purge     efforts,    Miami        Herald    (Mar.       27,     2014),

https://www.miamiherald.com/news/politics-government/article2087729.html.            A

district court held that the program likely violated the NVRA because it targeted

naturalized citizens and “[a] state cannot properly impose burdensome demands in

a discriminatory manner.” United States v. Florida, 870 F. Supp. 2d 1346, 1347-48

(N.D. Fla. 2012). Florida ultimately abandoned the program.

        50.     In January 2019, Texas’s Secretary of State initiated a purge program

based on the same type of stale driver license citizenship data. Once again, the

program targeted naturalized citizens and failed to accurately identify noncitizen

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registrants. Of the approximately 98,000 individuals on the Texas Secretary of

State’s list of purported non-citizens, only a handful were identified as ineligible to

vote. A district court issued a preliminary injunction and called the program a “ham-

handed” “mess” that burdened the right to vote of “perfectly legal naturalized

Americans.” Texas LULAC v. Whitley, No. SA-10-CA-074-FB, Doc. 61 (W.D. Tex.

Feb. 27, 2019). Soon thereafter, Texas abandoned its program.

      51.    But Georgia has not heeded the lessons of history – including the

November 2, 2018 preliminary injunction issued by the Court in this case. Defendant

Raffensperger has chosen, without statutory mandate, to continue the automated

citizenship matching process even though it relies on a methodology that has proven

to be fundamentally flawed.

      Defendant Raffensperger’s Citizenship Matching Protocol Imposes
                  Substantial Burdens on Flagged Voters

      52.    The citizenship matching process is a harsh and discriminatory

welcome to the American democratic process for naturalized citizens. Many of these

newly naturalized citizens register to vote for the first time immediately following

naturalization ceremonies, often at voter registration drives organized by some of

the Plaintiff organizations. But shortly thereafter, rather than receiving their precinct

card confirming their voter registration, they receive a potentially intimidating and


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confusing official letter from election officials questioning their citizenship and

demanding they provide documentation of citizenship before they can vote.

      53.    As a result, newly naturalized citizens who apply to vote following

naturalization ceremonies—and even many who included copies of their

naturalization forms with their registration applications—have been denied active

voter registration status or faced extra hurdles to becoming a registered voter in

Georgia.

      54.    Although county registrars should theoretically be checking voter files

to ascertain whether a voter registration provided documentary proof of citizenship

with their registration form to avoid having the applicant inaccurately flagged as a

potential non-citizen, Defendant has not produced any evidence that this new

practice has been successful in all cases. Similarly, Defendant has not provided any

evidence that all of Georgia’s 159 county registrars have been directed to review

existing voter files to determine whether applicants currently in pending status due

to the citizenship match prior to the change in practice provided proof of citizenship.

      55.    Flagged voters receive only one notification that they must provide

documentary proof of citizenship in order to cast a ballot that counts, which is

woefully insufficient. This is particularly true since many newly naturalized citizens

are likely to be persons who have limited English proficiency and may not

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understand notices that are not in their first language. In fact, with the exception of

Gwinnett County, which is a covered jurisdiction under Section 203 of the Voting

Rights Act for Spanish language voting assistance, all of the notices are only in

English. Therefore, many flagged voters do not fully understand the import of the

notice.5

      56.    If flagged voters appear at the polls on Election Day, they will not be

issued a regular ballot unless they happen to have their citizenship documentation

on their person. Upon information and belief, many naturalized citizens—like most

other citizens—do not carry documentation of citizenship on their person.

      57.    Moreover, Defendant Raffensperger’s policies—even as softened by

this Court in its preliminary injunction order intended to mitigate the citizen

matching protocol’s damage in the immediate run-up to the 2018 elections—require

flagged individuals to produce their proof of their citizenship (if they have it on their

person) to a poll manager at their precinct. Therefore, they must leave the general



5
  According to data reported by Georgia to the Election Assistance Commission,
only 9 percent of NVRA notices sent to voters between the November 2016 and
November 2016 Elections were returned by recipients. In contrast, 15 percent were
returned undeliverable and 76 percent were not returned at all. There is no reason to
believe that applicants who receive citizenship flag notices will be any more likely
to respond to the citizenship flag notices, especially given the fact that these notices
are only in English, except for Gwinnett County.

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check-in line at the polling place where other voters are processed. Singling out these

voters is unnecessary—poll workers can easily perform this function—intimidating,

and discourages newly naturalized citizens from voting in future elections.

      58.    Finally, qualified United States citizens who are inaccurately flagged

as purported non-citizens run the risk of having their applications cancelled after 26

months by the citizenship matching protocol.

      59.    If the voter’s registration is cancelled, the applicant will have to start

the registration process over again and is likely be incorrectly flagged as a purported

non-citizen again based on the same stale data.

      60.     It is well recognized that the duty to register—and in this case re-

register—is the primary obstacle to voting. H.R. Rep. No. 103-9 at 3 (“Public

opinion polls, along with individual testimony . . . indicate that failure to become

registered is the primary reason given by eligible citizens for not voting. It is

generally accepted that over 80 percent of those citizens who are registered vote in

Presidential elections.”).

      61.    Requiring re-registration for these individuals may prove particularly

burdensome because the citizenship matching protocol may stoke fear among

flagged voters that the legitimacy of their citizenship is being questioned by a

government agency. Moreover, voters who speak English as a second language, have

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lower literacy or education levels, have limited access to technology, or face other

barriers to registration will be disproportionately burdened by this process.

   Disparate Burdens on Minority Applicants Subjected to the Citizenship
      Match Process are Linked to Social and Historical Conditions of
                             Discrimination

      62.    Defendant Raffensperger’s discriminatory citizenship match process

works in concert with historical, socioeconomic, and other electoral conditions in

Georgia to deny voter registration applicants of color an equal opportunity to register

to vote and participate in the political process.

      63.    Persistent and significant disparities in socioeconomic status and voter

participation among minority communities in Georgia are the result of Georgia’s

unfortunate history of pervasive racial discrimination. Because of these disparate

social and economic conditions, including poverty, unemployment, lower

educational attainment, and lack of access to transportation, voter registration

applicants of color are disproportionately burdened by the Georgia citizenship

matching protocol.

      64.    According to the 2017 American Community Survey five-year estimate

(“ACS”), there are significant racial disparities in income levels. For example, the

median income in Black households in Georgia is approximately $40,112; in Latino

households, $43,162; and in White households, $61,880. U.S. Census Bureau,

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2013-17 American Community Survey 5-Year Estimates, Tables B19013B,

B19013H, and B19013I.

      65.   ACS data also indicate that approximately 24.4 percent of Georgia’s

Black residents live in poverty, while the poverty rate is 26.7 percent among Latino

residents, 11.9 percent among Asian-American residents, and 11.1 percent among

White residents. Id., Tables B17001B, B17001D, B17001H, B17001I.

      66.   There are racial disparities in language proficiency rates in Georgia as

well. While approximately 37.0 percent of Latino residents and 35.1 percent of

Asian residents speak English less than “very well,” less than 0.01 percent of non-

Hispanic White residents speak English less than “very well.” Id., Tables B16005D,

B16005H, B16005I.

      67.   Racial disparities also persist in education levels. For example, 2013-

2017 ACS data indicate that 14.6 percent of Black residents, 39.6 percent of Latino

residents and 10.1 percent of non-Hispanic White residents in Georgia did not

graduate from high school. And 22.6 percent of Black residents, 16.0 percent of

Latino residents, and 33.7 percent of non-Hispanic White residents graduated from

college. Id., Tables C15002B, C15002H, C15002I.




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      68.    These socioeconomic disparities, caused by the continuing effects of

historical and modern racial discrimination, are directly linked to the disparate

burdens the citizenship matching protocol imposes on minority applicants.

      69.    The Georgia citizenship matching protocol turns the voter registration

process into a challenging exercise for some voters. Eligible voter registration

applicants with lower levels of educational attainment, a lower level of proficiency

in English, or less familiarity with bureaucratic procedures are more likely than other

applicants to be unable to navigate this bureaucratic process.

      70.    Notification letters, other than those sent in Gwinnett County, are

provided only in English. Applicants who are limited English proficient will have

more difficulty understanding the notification letter. They also face additional

challenges when communicating with election officials, following instructions, and

completing the registration process.

      71.    In addition, naturalized citizens are disproportionately non-White and

are more likely than White applicants to work multiple jobs, have inflexible

schedules, maintain irregular work hours, lack access to transportation, or suffer

from financial hardship or economic displacement. It is more difficult for these

applicants to follow up with election officials in a timely manner than those who




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have access to transportation, can afford to take time off from work, and have a

flexible schedule.

                     Racial Discrimination in Voting in Georgia

       72.   There is a long—and well-documented—history of voting-related

discrimination in Georgia. See Georgia State Conference of the NAACP v. Fayette

County Bd. of Comm’rs, 950 F.Supp.2d 1294, 1314-16 (N.D. Ga. 2013); see also

Johnson v. Miller, 864 F. Supp. 1354, 1379-80 (S.D. Ga. 1994), aff'd and remanded,

515 U.S. 900 (1995) (noting that “we have given formal judicial notice of the State’s

past discrimination in voting, and have acknowledged it in the recent cases”).

       73.   And discrimination in voting is not a relic of Georgia’s past. Modern

examples of discrimination in voting in Georgia are also well-documented, including

in the congressional record supporting the 2006 reauthorization of the Voting Rights

Act.

       74.   For example, in 2005, Georgia adopted a strict photo identification

requirement for voting. The 2005 photo ID law required individuals lacking photo

ID to pay $20 for a photo ID card or to sign an affidavit declaring indigency. Only

after a federal court enjoined its original law did the Georgia Legislature revise its

photo ID law to provide more equal access to the required photo ID.




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      75.    The Georgia Secretary of State’s office also has a history of hostility

toward third-party voter registration activity. Organizations that serve communities

of color are responsible for a substantial portion of the third-party voter registration

activity in Georgia.

      76.    Although much of the written history of discrimination in Georgia has

focused upon African Americans, incidents of discrimination against other racial and

ethnic groups have increased in more recent years.

      77.    In 2016, for example, the Georgia Senate passed Senate Resolution 675

(“SR 675”), which sought to amend the Georgia Constitution to make English the

state’s official language and prohibit the use of any language other than English in

any Georgia state or local government document, proceeding, or publication. SR 675

would have prohibited the dissemination of ballots and other election-related

documents in any language other than English in violation of federal law. After more

than 200 ethnic business groups, churches, and other organizations condemned or

lobbied against SR 675, the House did not pass SR 675 prior to the end of the

legislative session.

      78.    The origins of the citizenship matching protocol are part and parcel of

this history of modern discrimination in voting.




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      79.    The Georgia Secretary of State’s office began implementing a

predecessor version of the current “exact match” voter registration process—which

also inaccurately flagged United States citizens as potential non-citizens—shortly

before the 2008 presidential election without first obtaining preclearance. The U.S.

District Court for the Northern District of Georgia held that doing so violated Section

5 of the Voting Rights Act. Morales v. Handel, No. 1:08-CV-3172, 2008 WL

9401054 (N.D. Ga. Oct. 27, 2008).

      80.    After the Secretary of State finally did submit the protocol for

preclearance, the U.S. Department of Justice (“DOJ”) objected to Georgia’s

submission. The DOJ concluded that the initial version of the program relied on an

error-laden and “possibly improper” usage of the Social Security Administration’s

HAVV system and outdated Georgia Department of Driver Services data in an

attempt to find non-citizens. Letter from Loretta King, Acting Asst’t Att’y Gen.,

Dep’t of Justice, to Ga. Att’y Gen. Thurbert E. Baker, May 29, 2009, available at

https://www.justice.gov/crt/voting-determination-letter-58.

      81.    The Attorney General’s objection letter also found Georgia’s

citizenship matching protocol was unreliable and had a discriminatory effect upon

non-White applicants:

              “We have considered the accuracy of the state's verification process.
              Our analysis shows that the state's process does not produce accurate
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              and reliable information and that thousands of citizens who are in fact
              eligible to vote under Georgia law have been flagged . . . a large
              number of persons who have subsequently demonstrated that they are
              in fact citizens. Indeed, of the 7,007 individuals who have been
              flagged . . . as potential non-citizens, more than half were in fact
              citizens. Perhaps the most telling statistic concerns the effect of the
              verification process on native-born citizens. Of those persons
              erroneously identified as non-citizens, 14.9 percent, more than one in
              seven, established eligibility with a birth certificate, showing they
              were born in this country. Another 45.7 percent provided proof that
              they were naturalized citizens, suggesting that the driver's license
              database is not current for recently naturalized citizens.

              The impact of these errors falls disproportionately on minority voters.
              . . . Although African American and white voters represent
              approximately equal shares of the new voter registrants between May
              2008 and March 2009, more than sixty percent more African
              Americans voters who registered during this period are currently
              flagged than are whites. Again, this rate is statistically significant.
              Similar disproportion arises with regard to flagged Asians and
              Hispanics . . . Hispanic and Asian individuals are more than twice as
              likely to appear on the list as are white applicants. Each of the
              differences is statistically significant.

              In sum, the state's proposed procedures for verifying voter registration
              information are seriously flawed. This flawed system frequently
              subjects a disproportionate number of African-American, Asian,
              and/or Hispanic voters to additional and, more importantly, erroneous
              burdens on the right to register to vote. These burdens are real, are
              substantial, and are retrogressive for minority voters. As such, an
              objection based upon the state's failure to establish the absence of a
              discriminatory effect is warranted.”

      82.    While a later iteration of the “exact match” protocol was precleared in

2010, it is not apparent that the Secretary of State ever followed the safeguards

promised in the preclearance submission that led to its approval.
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      83.   Moreover, since implementing the “exact match” protocol in 2010, the

Georgia Secretary of State’s office was made aware repeatedly that its registration

protocol, in practice, disproportionately burdened eligible minority applicants. In

2016, a coalition of civic engagement groups sued to enjoin the practice. The

Secretary of State subsequently agreed to a settlement to end cancellations based on

the “exact match” protocol.

      84.   Nevertheless, in 2017, the legislature codified the “exact match”

protocol in HB 268. The legislation predictably continued to cause thousands of

prospective Georgia voter registration applicants—the vast majority of whom

identify as African-American, Latino and Asian-American—to be placed in

“pending” status because they had been incorrectly identified as non-citizens.

      85.   After Plaintiffs filed this lawsuit, the Georgia Legislature eliminated

the “exact match” process through the enactment of HB 316 (2019) but did nothing

to address the accompanying and similarly unlawful citizenship matching process.

      86.   Neither Secretary Raffensperger nor the Georgia Legislature have acted

to mitigate the citizenship matching protocol’s discriminatory impact on the ability

of Georgia’s qualified African-American, Latino and Asian-American applicants to

complete the voter registration process. Efforts by voting rights and civic

engagement advocates, among others, to encourage the Legislature to include

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reforms to the matching protocol in HB 316 failed during the 2019 legislative

session.

     Other Factors Relevant to the Totality of Circumstances in Georgia

      87.    Voting patterns in Georgia are racially polarized. Courts have

repeatedly held that racially polarized voting exists at the statewide, county, and

local levels. See, e.g., Georgia v. Ashcroft, 195 F. Supp. 2d 25, 88 (D.D.C. 2002),

rev’d on other grounds, 539 U.S. 461 (2003); Ga. State Conf. of the NAACP v.

Fayette Cty. Bd. of Comm’rs, 950 F. Supp. 2d 1294, 1314-16 (N.D. Ga. 2013),

vacated and remanded on other grounds, 775 F.3d 1336 (11th Cir. 2015); Ga. State

Conf. of the NAACP v. Kemp, 312 F. Supp. 3d 1357, 1360 (N.D. Ga. 2018) (panel

majority decision) (noting that voting in Georgia is “highly racially polarized”).

      88.    Persons of color have not been elected to public office in Georgia at a

rate that is commensurate with their share of the population. All of the current

statewide elected officials are White, and non-White Georgians are underrepresented

in the Georgia House of Representatives and Senate, as well as in the state’s

congressional delegation.

      89.    There is a majority vote requirement in all elections in Georgia, which

makes it more difficult for non-White voters to elect candidates of choice because

they comprise a minority of the electorate.

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      90.    Defendant Raffensperger has not shown that voter registration by non-

citizens is a problem in Georgia, let alone one that justifies delaying or denying

active voter registration to thousands of qualified Georgians who are United States

citizens based upon a defective process that relies upon outdated citizenship data.

      91.    The Georgia citizenship match protocol is tenuously, if at all, related to

the goal of preventing voter fraud or non-citizens registering to vote. It arbitrarily

applies only to persons who use a driver’s license number on their voter registration

form. Given the absence of evidence that non-citizen voter registration is a problem

in Georgia, moreover, it is a defective solution to a nonexistent problem. Ultimately,

it disproportionately and negatively delays or denies qualified Georgians who are

U.S. citizens access to the ballot. Indeed, the protocol creates obstacles for eligible

Georgia applicants on the basis of national origin and race.

      92.    The defective citizenship match process also imposes an arbitrary 26-

month cancellation period resulting in the rejection of registration applications that

are facially complete, fully accurate and submitted by qualified Georgians. The

cancellation of qualified applicants does nothing to further any state interest.


                         COUNT ONE
       VIOLATION OF SECTION 2 OF THE VOTING RIGHTS ACT




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      93.    Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 92 above, as if fully set forth herein.

      94.    Section 2 of the Voting Rights Act of 1965, 52 U.S.C. § 10301, protects

Plaintiffs from denial or abridgment of the right to vote on account of race, color, or

membership in a language minority group. Section 2 provides, in relevant part:

             (a) No voting qualification or prerequisite to voting or
             standard, practice, or procedure shall be imposed or
             applied by any State or political subdivision in a manner
             which results in a denial or abridgment of the right of any
             citizen of the United State to vote on account of race or
             color, or [membership in a language minority group].

             (b) A violation of subsection (a) of this section is
             established if, based on the totality of circumstances, it is
             shown that the political processes leading to nomination
             or election in the State or political subdivision are not
             equally open to participation by members of a class of
             citizens protected by subsection (a) of this section in that
             its members have less opportunity than other members of
             the electorate to participate in the political process and to
             elect representatives of their choice.

      95.    Defendant Raffensperger’s citizenship matching protocol constitutes a

qualification or prerequisite to voting within the meaning of Section 2 of the Voting

Rights Act and results in the denial or abridgement of the right to vote of Georgia

citizens on account of their race or color in violation of Section 2.




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      96.    It imposes a substantial, unwarranted, and disproportionate burden on

applicants of color, in particular Latino and Asian-American citizens, and denies

them equal opportunity to register and to vote in Georgia elections.

      97.    The    citizenship   matching      protocol   interacts   with   historical,

socioeconomic, and other electoral conditions in Georgia to prevent applicants of

color, in particular Latino and Asian-American citizens, from having an equal

opportunity to register and vote. Thornburg v. Gingles, 478 U.S. 30, 47 (1986).

      98.    In this case, the following circumstances are present: (1) a history of

discrimination related to voting; (2) racially polarized voting patterns; (3) members

of the impacted minority group bear the effects of discrimination in areas such as

education, employment, and health; (4) members of the impacted minority group are

underrepresented among Georgia’s elected officials; (5) a lack of responsiveness to

the needs of the impacted minority community; and (6) an arbitrary policy

underlying the matching protocol that is tenuously related to its stated purpose.

      99.    As a result of the citizenship matching protocol and under the totality

of the circumstances, the political process in Georgia is not equally open to

participation by registrants of color, in particular Latino and Asian-American

citizens, insofar as they have less opportunity than other members of the electorate

to participate in the political process and to elect representatives of their choice.

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         100. Plaintiffs will continue to suffer the violation of their rights as alleged

herein absent relief granted by the Court.


                      COUNT TWO
                       42 U.S. § 1983
 DISCRIMINATION BASED ON CITIZENSHIP CLASSIFICATION AND
                    NATIONAL ORIGIN
    EQUAL PROTECTION CLAUSE, FOURTEENTH AMENDMENT

         101. Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 100 above, as if fully set forth herein.

         102. The Fourteenth Amendment of the United States Constitution prohibits

states from depriving “any person within its jurisdiction the equal protection of the

laws.”

         103. Under the Equal Protection Clause, discrimination based on naturalized

citizenship and on national origin is presumptively unconstitutional and subject to

strict scrutiny.

         104. As described in the foregoing Complaint, Defendant Raffensperger’s

citizenship matching protocol discriminates against naturalized citizens. Its design

necessarily targets naturalized citizens who applied for a driver license prior to their

naturalization. By design, these naturalized citizens are burdened with a

documentary proof of citizenship requirement to vote and a 26-month timeline for

cancellation of their voter registration.

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      105. Likewise, by creating a protocol that singles out voters that at some

point were not U.S. citizens, the Secretary has made a classification on the basis of

national origin.

      106. These classifications are neither justified by nor narrowly tailored to

promote substantial or compelling state interests.

      107. The citizenship matching protocol unlawfully discriminates on the

basis of naturalized citizenship status and national origin in violation of the Equal

Protection Clause and should be enjoined. See, e.g., Boustani v. Blackwell, 460 F.

Supp. 2d 822 (2006) (striking down election procedure that targeted naturalized

citizens for differential treatment in the voter challenge process).

                         COUNT THREE
                          42 U.S.C. § 1983
           BURDEN ON THE FUNDAMENTAL RIGHT TO VOTE
              FIRST AND FOURTEENTH AMENDMENTS

      108. Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 107 above, as if fully set forth herein.

      109. The First and Fourteenth Amendments of the United States

Constitution protect the right to vote as a fundamental right. The First Amendment’s

guarantees of freedom of speech and association protect the right to vote and to

participate in the political process. The right to vote is a fundamental constitutional

right also protected by both the due process and equal protection clauses of the
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Fourteenth Amendment. See, e.g., Bush v. Gore, 531 U.S. 98, 104-05 (2000); Harper

v. Va. State Bd. of Elections, 383 U.S. 663, 670 (1966); Anderson v. Celebrezze, 460

U.S. 780, 786-87 (1983).

      110. Severe and discriminatory burdens on the right to vote are subject to

close scrutiny. Burdick v. Takushi, 504 U.S. 428, 434 (1993). Defendant

Raffensperger’s defective citizenship matching protocol is discriminatory imposes

severe burdens on the right to vote by preventing naturalized citizens and other

eligible applicants from gaining active voter registration status and voting based on

stale unreliable citizenship data.

      111. The citizenship match protocol, along with its 26-month cancellation

period and documentary proof of citizenship requirement, are not narrowly drawn to

advance any state interest sufficiently compelling to justify the imposition of such

severe burdens.

      112. While the burdens of this protocol are undeniably severe and

discriminatory, the protocol cannot pass muster even under the less restrictive

Anderson-Burdick balancing test for more ordinary voting regulations. Burdick v.

Takushi, 504 U.S. 428, 434 (1992) (holding that courts “must weigh ‘the character

and magnitude of the asserted injury to the rights protected by the First and

Fourteenth Amendments that the plaintiff seeks to vindicate’ against ‘the precise

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interests put forward by the State as justifications for the burden imposed by its rule,’

taking into consideration ‘the extent to which those interests make it necessary to

burden the plaintiffs rights’” (quoting Anderson v. Celebrezze, 460 U.S. 780, 789

(1983))).

      113. There is no sufficient state interest justifying this citizenship matching

protocol, 26-month cancellation period, and documentary proof of citizenship

requirement that is not already adequately protected by preexisting criminal laws

and election procedures, particularly in light of Georgia’s strict photo identification

requirement and the fact that applicants must affirm their United States citizenship

on the voter registration form under penalty of perjury.

      114. If enforcement of the citizenship matching protocol is not enjoined or

otherwise modified to ameliorate the severe burdens it imposes, the citizenship

matching protocol will continue to indefinitely impose severe burdens on citizens’

right to vote, requiring Plaintiff organizations to divert resources in an attempt to

remedy the deprivation.

      115. Defendant Raffensperger, acting in his capacity as Georgia’s Secretary

of State, is acting under color of state law to deprive Plaintiffs of the rights,

privileges, and immunities secured to them by the First and Fourteenth Amendments

to the United States Constitution and protected under 42 U.S.C. § 1983.

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      116. Plaintiffs will continue to suffer the violation of their rights as alleged

herein absent relief granted by the Court.

                         COUNT FOUR
         VIOLATION OF SECTION 8 OF THE NATIONAL VOTER
           REGISTRATION ACT OF 1993, 52 U.S.C. § 20507(a)(1)

      117. Plaintiffs repeat and re-allege each and every allegation contained in

paragraphs 1 through 116 above, as if fully set forth herein.

      118. Section 8 of the NVRA, 52 U.S.C. § 20507(a)(1) requires each state to

ensure that any eligible applicant is registered to vote in an election” so long as that

applicant submits a valid voter registration form not later than the lesser of 30 days

or the period provided by State law before an election. 52 U.S.C. § 20507(a)(1)

(emphasis added).

      119. Congress’ purpose in passing the NVRA was to “increase the number

of eligible citizens who register to vote in elections”; “enhance[] the participation of

eligible citizens as voters”; and protect the active role that community-based voter

registration groups play in the registration process. 52 U.S.C. § 20501.

      120. The NVRA was intended to “ensure that no American is denied the

ability to participate in Federal elections because of real or artificial barriers . . .

[and] to make voter registration an inclusive, rather than an exclusive opportunity in




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the United States.” 139 Cong. Rec. H495-04 (1993) (statement of Rep. Martin

Frost).

      121. Defendant Raffensperger’s citizenship matching protocol violates

Section 8 of the NVRA because it denies or delays active voter registration to

qualified Georgia voter registration applicants who submit timely, facially complete

and accurate voter registration forms.

      122. Section 8 of the NVRA also provides that “[a]ny State program or

activity to protect the integrity of the electoral process by ensuring the maintenance

of an accurate and current voter registration roll for elections for Federal office . . .

shall be uniform, nondiscriminatory, and in compliance with the Voting Rights Act

of 1965.” 52 U.S.C. § 20507(b)(1).

      123. The citizenship matching protocol—and particularly the practice of

removing flagged applicants after 26 months—falls squarely within the scope of this

directive. Yet, as described in detail in the foregoing complaint, the protocol by

design discriminates on the basis of national origin and race.

      124. On July 18, 2018, Plaintiffs’ counsel served Defendant Raffensperger’s

predecessor, Brian Kemp, with notice of the violation of Section 8 of the NVRA. A

copy of said written notice is attached and incorporated herein by reference as

Exhibit 1. No Georgia election official has undertaken any remedial action since that

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date. Therefore, Plaintiffs have no recourse but to continue this litigation to obtain

remedial relief from the Court.

                             PRAYER FOR RELIEF

      WHEREFORE, the Plaintiffs respectfully pray that the Court:

      1.     Enter judgment in favor of Plaintiffs and against Defendant

Raffensperger on the claims for relief as alleged in this Complaint;

      2.     Enter a declaratory judgment pursuant to 28 U.S.C. §§ 2201 and 2202

declaring that Defendant Raffensperger’s citizenship matching protocol for voter

registration (a) violates Section 2 of the Voting Rights Act of 1965, 52 U.S.C. §

10301, (b) violates the Equal Protection Clause by discriminating on the basis of

national origin and class of citizenship, (c) violates the fundamental right to vote

under the First and Fourteenth Amendments, and (d) violates Section 8 of the

National Voter Registration Act of 1993, 52 U.S.C. § 20507.

      3.     Grant Plaintiffs preliminary and/or permanent injunctive relief by

enjoining the enforcement and continued implementation of the citizenship

matching protocol and by ordering Defendant Raffensperger, his employees, agents,

servants and his successors to undertake the following remedial actions:

      a.     Enjoin enforcement of the 26-month cancellation period applied to

applicants who allegedly fail the citizenship matching protocol;

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      b.     Place in active voter registration status all applicants who either (1) are

currently in “pending” status due to an alleged failure to verify citizenship based

upon DDS data that has not been updated to reflect the current citizenship status of

the applicant so long as the applicant has sworn or affirmed he or she is a United

States citizen, or (2) had their voter registration applications cancelled since October

1, 2014 as a result of an alleged failure to verify citizenship based upon DDS data

that has not been updated to reflect the applicant’s current citizenship status so long

as the applicant has sworn or affirmed he or she is a United States citizen;

      c.     Notify all voters who are placed in active voter registration status

pursuant to subsection (b).

      d.     Transmit any Order of this Court granting preliminary or final

injunctive relief to county boards of elections;

      4.     Order that Defendant Raffensperger, his employees, agents, servants

and successors maintain, preserve, and not destroy until after December 31, 2030,

any and all records relating to the citizenship matching protocol and its

implementation.

      5.     Order that the Court shall retain jurisdiction over the Defendant and his

successors for such period of time as may be appropriate to ensure compliance with

relief ordered by this Court;

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      6.       Award Plaintiffs their reasonable attorneys’ fees and costs pursuant to

statute; and

      7.       Grant Plaintiffs such other and further relief as may be just and

equitable.


      Dated: July 24, 2020        Respectfully submitted,

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           CERTIFICATE OF COMPLIANCE AND OF SERVICE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the foregoing

THIRD AMENDED COMPLAINT has been prepared in Times New Roman 14, a

font and type selection approved by the Court in L.R. 5.1(C), and that I provided

notice and a copy of the foregoing using the CM/ECF system which will

automatically send e-mail notification of such filing to all attorneys of record.

      Respectfully submitted this 24th day of July, 2020.

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